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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
                               Plaintiff,

                    – against –                                         ORDER
                                                                   19 Civ. 11194 (ER)
ANNE CRONIN, in her individual capacity and
as executor of the estate of Andrew Cronin,
deceased,
                               Defendant.


Ramos, D.J.:

         Defendant was served with process on January 10, 2020. On November 2, 2020, Plaintiff

indicated that it would move for a default judgment in 45 days. There has been no further

activity in this case. Plaintiff is therefore directed to move for default pursuant to this Court’s

individual practices or otherwise submit a status report to the Court by no later than April 19,

2021. Failure to comply could result in sanctions including dismissal for failure to prosecute.

See Fed. R. Civ. P. 41(b).

         It is SO ORDERED.

Dated:    April 5, 2021
          New York, New York
                                                                     Edgardo Ramos, U.S.D.J.
